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                                               EXHIBIT LIST
UNITED STATES v. RALPH MERRILL                                     UNITED STATES DISTRICT COURT
                                                                   SOUTHERN DISTRICT OF FLORIDA

ASSISTANT U.S. ATTORNEYS: ELOISA D. FERNANDEZ,                     CASE NUMBER: 08-20574-CR-JAL(s)
                          ADAM SCHWARTZ &                          JUDGE:       JOAN A. LENARD
                          JAMES KOUKIOS                                         WILLIAM C. TURNOFF


DEFENSE COUNSEL:               PETER STIRBA




EX.                   DESCRIPTION OF EXHIBIT                          WITNESS             DATE         DATE
                                                                                         OFFERED     ADMITTED

 A    Report of Investigation Dated April 24, 2008
 B    March 31, 2008 Email attaching Letter Suspending
      Ammunition Shipments
 C    New York Times Article
 D    Report of Investigation Dated May 7, 2008
D-1   Email Dated April 25, 2007 (Attachment 1 to Ex. D)
D-2   Email Dated May 16, 2007 (Attachment 2 to Ex. D)
D-3   Email Dated January 31, 2007 (Attachment 3 to Ex. D)
D-4   Email Dated February 5, 2007 (Attachment 4 to Ex. D)
D-5   Email Dated April 29, 2007 (Attachment 5 to Ex. D)
 E    May 8, 2008 Notes of S/A Vazquez
 F    May 8, 2008 Grand Jury Testimony of Ralph Merrill
                 Case 1:08-cr-20574-JAL Document 482 Entered on FLSD Docket 12/09/2009 Page 2 of 9

EX.                  DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
                                                                                         OFFERED     ADMITTED

G     May 15, 2008 Letter from Bradley P. Rich to AUSA Eloisa
      D. Fernandez
H     Proposed Plea Agreements and Grand Jury Subpoena for
      Ralph Merrill
 I    March 17, 2006 Email “AEY Status”
J     February 22, 2008 Email “Re: Urgent BLM Trouble”
K     Documents Provided By Ralph Merrill [RM 0001; RM0012-
      40]




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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
                                                                              OFFERED     ADMITTED




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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
                                                                              OFFERED     ADMITTED




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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
                                                                              OFFERED     ADMITTED




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EX.       DESCRIPTION OF EXHIBIT                           WITNESS             DATE         DATE
                                                                              OFFERED     ADMITTED




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